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                            EXHIBIT A
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    December 3, 2021


    Via E-Mail

    William J. Vigen
    Anthony Mariano
    U.S. Dept. of Justice, Antitrust Division
    450 5th Street, NW
    Washington, DC 20530

    Re:      United States v. DaVita Inc. et al., 1:21-cr-00229-RBJ (D. Colo.)

    Dear Counsel:

            In accordance with Federal Rule of Criminal Procedure 16(b)(1)(C), the following
    is a summary of the expected testimony of Dr. Pierre-Yves Cremieux.

    I.       Introduction

             A.        Qualifications and Professional Experience

                       1.          Dr. Pierre-Yves Cremieux is the President and a Managing Principal
                                   of Analysis Group, Inc., an economic research consulting firm. Prior
                                   to joining Analysis Group, Dr. Cremieux served as a tenured
                                   Professor of Economics at the University of Québec at Montréal.

                       2.          He received a B.A. in Economics from the University of Maryland
                                   in 1986, and a master’s degree and Ph.D. in Economics from the
                                   University of California at Berkeley in 1989 and 1992, respectively.

                       3.          Dr. Cremieux has worked and published in a number of areas,
                                   including labor and employment, antitrust, and class certification.
                                   His work has been published in a various peer-reviewed academic
                                   journals. He has consulted with numerous clients in the United
                                   States and Canada and testified in bench and jury trials, arbitrations,
                                   and administrative proceedings with respect to class certification,
                                   liability, damages, and statistics.



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                      4.    His curriculum vitae, which includes a complete list of publications,
                            is included as Appendix A.

                      5.    Dr. Cremieux has provided expert reports, deposition, and/or
                            testimony in 30 antitrust litigations. A list of the cases in which he
                            provided expert testimony during the past four years is included in
                            Appendix B.

                      6.    At trial, Dr. Cremieux will provide expert economic analysis of the
                            alleged agreements in the Indictment between the defendants and
                            their alleged co-conspirators to a reasonable degree of scientific
                            certainty. If asked to testify at a trial regarding his opinions, Dr.
                            Cremieux reserves the right to address any further issues relevant to
                            his opinions and to use additional materials, including exhibits and
                            demonstratives, for support as may be appropriate.

    II.      Expected Testimony of Dr. Pierre-Yves Cremieux

             A.       Testimony

                      1.    Dr. Cremieux is expected to testify that in his expert opinion the
                            economic evidence does not support the existence of a labor market
                            allocation agreement between DaVita Inc. or Mr. Thiry and the
                            entities identified in Counts 1, 2, and 3 of the Indictment. In support
                            of his opinion that the economic evidence does not support the
                            existence of a labor market allocation agreement, Dr. Cremieux is
                            expected to testify as to the following:

                            a.     Dr. Cremieux’s opinion is that the evidence regarding
                                   employee separations at DaVita does not align with the
                                   expected effect of a labor market allocation agreement. Dr.
                                   Cremieux analyzed DaVita’s separation rates for the relevant
                                   sets of DaVita employees. That analysis confirms, in Dr.
                                   Cremieux’s opinion, that the relevant separation rates were
                                   not depressed during the alleged conspiracy periods.

                            b.     Dr. Cremieux’s opinion is that patterns of DaVita employee
                                   compensation do not align with the expected effects of a
                                   labor market allocation agreement. In particular, Dr.
                                   Cremieux’s analysis of DaVita-specific compensation data
                                   and national benchmarks does not reveal a depression in the
                                   compensation of DaVita senior-level employees specific to
                                   the alleged conspiracy periods; in fact, the elevation of



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                            median salary for DaVita senior-level employees above
                            benchmarks is higher during the alleged conspiracy periods
                            than before or after.

                       c.   Dr. Cremieux is expected to testify that evidence concerning
                            employees at DaVita who provided notice that there were
                            considering positions outside of DaVita often received offers
                            for promotions, increased compensation and/or different job
                            responsibilities, contrary to the allegation that DaVita
                            entered into notice agreements with the entities identified in
                            Counts 1, 2 and 3 of the Indictment as part of a market
                            allocation agreement for labor. Dr. Cremieux is expected to
                            testify and address the recruitment of specific employees that
                            the Government may present at trial, including his analysis
                            of the effects and incentives of alleged conduct.

                       d.   Dr. Cremieux is expected to testify that, in his opinion, there
                            was a lack of economic incentive for DaVita to enter into
                            market allocation agreements for senior-level employees
                            with the companies identified in the Indictment, making the
                            existence of a labor market allocation agreement less likely.
                            In particular, Dr. Cremieux is expected to testify that:

                            (i)    The competition for senior-level DaVita employees
                                   was broad. Data suggests that during and outside the
                                   alleged conspiracy periods, senior-level employees
                                   departed DaVita for hundreds of other companies.
                                   These destination companies were not confined to the
                                   outpatient care industry or to the broader healthcare
                                   industry (which comprises thousands of companies),
                                   and the pool of potential destinations may have been
                                   far larger than the set of actual destination
                                   companies.

                                   Even outside the alleged conspiracy periods,
                                   moreover, the three companies referenced in the
                                   Indictment are a destination for a tiny fraction of
                                   senior-level employees departing DaVita. Market
                                   allocation agreements with those three companies
                                   could not reasonably be expected to have a material
                                   impact on employee compensation or employee
                                   turnover rates.




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                                   (ii)    The defendants and their alleged co-conspirators had
                                           little, if any, power to suppress competition and
                                           wages, and correspondingly little, if any, incentive to
                                           enter into an agreement since such an agreement
                                           could not restrict competition for labor.

                            e.     Dr. Cremieux is expected to testify that the defendants’
                                   alleged conduct with regard to recruiting and hiring was
                                   consistent with those companies’ and individuals’
                                   independent self-interest and thus provides no economic
                                   basis to infer a labor market allocation agreement from those
                                   actions.

                            f.     Dr. Cremieux is expected to testify that limitations on
                                   recruiting and hiring may help to promote or allow other
                                   joint economic activity. DaVita discussed various business
                                   opportunities with SCA during the alleged conspiracy
                                   period, and Dr. Cremieux is expected to testify that
                                   limitations on recruiting may be expected, based on
                                   economic theory, to promote or allow such business
                                   arrangements, and so limitations that SCA may have placed
                                   on its own recruitment or hiring from DaVita would be in its
                                   own independent interest.

                      2.    Dr. Cremieux may respond to the testimony of witnesses that the
                            Government presents. The content of Dr. Cremieux’s response will
                            depend, however, on the testimony as it is presented at trial, and so
                            we reserve the right to have Dr. Cremieux address any further issues
                            relevant to his opinions and to use additional materials for support as
                            may be appropriate.

                      3.    Defendants reserve the right to amend, supplement, and/or modify
                            its testifying expert based on motions currently pending or that may
                            become pending before the Court. Defendants reserve the right to
                            call other economic experts to testify to the opinions identified
                            above using the same materials relied upon as Dr. Cremieux if
                            necessary.

             B.       Materials Relied Upon

                      1.    The bases for the facts and opinions that Dr. Cremieux will testify
                            about are his extensive education, training, writing, and
                            professorship in the field of economics, and the knowledge, skill,



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                           and experience he has acquired as a long-time author and professor
                           on these topics. Dr. Cremieux will base his opinion upon a review
                           of the testimony, documents, and data produced in this case, and
                           relevant academic literature and articles.

                      2.   The bases of Dr. Cremieux’s testimony are expected to include:

                           a.     His review of DaVita and its alleged co-conspirators’
                                  compensation and termination data;

                           b.     His review and analysis of benchmark compensation and
                                  turnover data;

                           c.     His analysis of LinkedIn data;

                           d.     His analysis of ordinary course communications and
                                  documents produced by the parties in the case;

                           e.     His analysis of labor market conditions at the time of the
                                  charged conspiracy period; and

                           f.     His experience and expertise in the field of economics.




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   Sincerely,


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